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10   ESTATE OF AARON SMITH, et al.

11                        UNITED STATES DISTRICT COURT
12
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
14
     ESTATE OF AARON SMITH, by and             ) CASE NO.: 5:23-cv-1767
15   through successor in interest, LYDIA      )
     SMITH; LYDIA SMITH, individually;         ) COMPLAINT FOR DAMAGES
16   AARON SMITH JR., individually;            )
     LYNETTE SMITH, individually;              ) 1. Denial of Medical Care, Fourth
17   SARA SMITH, individually,                 )    Amendment Violation (42 U.S.C. §
                                               )    1983);
18                      Plaintiffs,            ) 2. Failure to Protect from Harm,
                                               )    Fourteenth Amendment Violation (42
           v.                                  )    U.S.C. § 1983);
19                                               3. Failure to Provide Medical Care,
                                               )
     HEMET POLICE DEPARTMENT, a                )    Fourteenth Amendment Violation (42
20
     public entity; CITY OF HEMET, a           ) 4. U.S.C. § 1983);
     public entity; EDDIE PUST, in his         )    Deprivation  of the Right to Familial
21
     individual and official capacities; and   )    Relationship  with Decedent (42
     DOES 1 through 10, individually,               U.S.C. §  1983);
                                               ) 5. Policies, Customs, Practices Causing
22
                                               )    Constitutional Violations (Monell, 42
23                      Defendants.            )    U.S.C. § 1983);
                                               ) 6. Supervisory Liability Causing
24                                             )    Constitutional Violations (Failure to
                                               )    Properly Train, Supervise and
25                                             )    Discipline, 42 U.S.C. § 1983);
                                               ) 7. Negligence – Wrongful Death;
26                                               8. Violation of California Government
                                                    Code §845.6;
27                                               9. Violation of California Civil Code
                                                    §52.1 (Tom Bane Act);
28                                                  DEMAND FOR JURY TRIAL
                                                1
                                      COMPLAINT FOR DAMAGES
 1                              JURISDICTION AND VENUE
 2         1.     This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, and the
 3   Fourth and Fourteenth Amendments to the United States Constitution, and the laws and
 4   Constitution of the State of California. Jurisdiction is conferred upon this Court by 28
 5   U.S.C. §§ 1331 and 1343.
 6         2.     Venue is proper within the Central District of California pursuant to 28
 7   U.S.C. § 1391(b)(1) and (2) because all Defendants reside within this district and the
 8   events and omissions giving rise to Plaintiffs’ claims occurred within this district.
 9         3.     Plaintiffs have complied with the California Tort Claims Act requirements
10   with respect to their claims arising under state law.
11         4.     With respect to these supplemental state claims, Plaintiffs request that this
12   Court exercise supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over such claims
13   as they arise from the same facts and circumstances which underlie the federal claims.
14                                          PARTIES
15         5.     Plaintiff SARA SMITH, is and was, at all times relevant hereto, the lawful
16   wife of decedent AARON SMITH, and at all times relevant hereto was a resident of
17   the CITY of Riverside, California. Plaintiff SARA SMITH brings these claims
18   pursuant to California Code of Civil Procedure §§ 377.20 et seq. and 377.60 et seq.,
19   which provide for survival and wrongful death actions. Plaintiff SARA SMITH also
20   brings her claims individually and on behalf of decedent AARON SMITH on the basis
21   of 42 U.S.C. §§ 1983 and 1988, the United States Constitution, federal and state civil
22   rights law and California law. Plaintiff SARA SMITH also brings these claims as a
23   Private Attorney General, to vindicate not only her rights, but others’ civil rights of
24   great importance.
25         6.     AARON SMITH JR. and LYNETTE SMITH, were the natural children
26   of AARON SMITH. AARON SMITH JR. and LYNETTE SMITH bring their claims
27   in their individual capacities and seek wrongful death damages.
28   ///
                                                 2
                                    COMPLAINT FOR DAMAGES
 1           7.    SARA SMITH was the natural mother of AARON SMITH and bring her
 2   claim in her individual capacity.
 3           8.    Defendant CITY OF HEMET (hereinafter also “CITY”) owns, operates,
 4   manages, directs and controls Defendant HEMET POLICE DEPARTMENT
 5   (hereinafter also “HPD”), also a separate public entity, which employs other Doe
 6   Defendants in this action. At all times relevant to the facts alleged herein, Defendant
 7   CITY was responsible for assuring that the actions, omissions, policies, procedures,
 8   practices and customs of its employees, including HPD employees complied with the
 9   laws and the Constitutions of the United States and of the State of California.
10   Defendant CITY, through HPD, is and was responsible for ensuring the protection and
11   safety of all persons incarcerated at the HPD correctional facilities, including the HPD
12   Jail.
13           9.    Defendant EDDIE PUST (“PUST”), at all times mentioned herein, is the
14   Chief of Police for Defendant HPD, the highest position in the HPD Jail. As Chief,
15   Defendant PUST is and was responsible for the hiring, screening, training, retention,
16   supervision, discipline, counseling, and control of all HPD Jail employees and/or
17   agents. Defendant PUST is and was charged by law with oversight and administration
18   of the HPD Jail, including ensuring the safety of the inmates housed therein. Defendant
19   PUST also is and was responsible for the promulgation of the policies and procedures
20   and allowance of the practices/customs pursuant to which the acts of the HPD Jail
21   alleged herein were committed. Defendant PUST is being sued in his individual and
22   official capacities.
23           10.   Plaintiffs are ignorant of the true names and capacities of Defendants DOES
24   1 through 10 (“DOE Defendants”) and therefore sue these Defendants by such fictitious
25   names. Plaintiffs are informed and believe and thereon allege that each Defendant so
26   named is responsible in some manner for the injuries and damages sustained by Plaintiffs
27   as set forth herein. Plaintiffs will amend their complaint to state the names and capacities
28   of each DOE Defendant when they have been ascertained.
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                                     COMPLAINT FOR DAMAGES
 1         11.    The identities, capacities, and/or nature of involvement of the defendants
 2   sued as DOES 1 through 10 are presently unknown to the Plaintiffs who therefore sue
 3   these defendants by fictitious names. Plaintiffs are informed, believe, and thereupon
 4   allege that DOES 1 through 10 include individual law enforcement personnel and
 5   medical personnel employed by the HPD and the CITY, and that they were involved
 6   in some manner and are legally responsible for the wrongful acts and conduct alleged
 7   herein. Plaintiffs will amend this complaint to substitute the DOE Defendants’ true
 8   names and capacities when they have been ascertained. Plaintiffs are informed, believe,
 9   and thereupon allege that each DOE defendant is a resident of California. Upon
10   information and belief, DOES 1 through10 were and still are residents of the CITY,
11   California. DOES 1 through 10 are sued in both their individual and official capacities.
12         12.    At all relevant times, DOES 7 and 8 were managerial, supervisorial,
13   training, and/or policymaking employees of Defendant CITY. At the time of the incident,
14   DOES 7 and 8 were acting under color of law within the course and scope of their duties
15   as employees for the CITY. They had supervisorial authority over DOES 1-10, and the
16   CITY employees at the CITY Jail. DOES 7 and 8 were acting with the complete
17   authority and ratification of their principal, Defendant CITY.
18         13.    At all relevant times, DOES 9 and 10 were managerial, supervisorial,
19   training, and/or policymaking employees of Defendant CITY. At the time of the incident,
20   DOES 9 and 10 were acting under color of law within the course and scope of their duties
21   as employees for the HPD and/or the CITY. They had supervisorial authority over DOES
22   1-10, and the employees of the HPD. DOES 9 and 10 were acting with the complete
23   authority and ratification of their principal, Defendant CITY.
24         14.    Each of the defendants, including the DOE defendants, caused, and is
25   responsible for, the unlawful conduct and resulting injuries suffered by Plaintiffs by,
26   among other things, personally participating in the unlawful conduct, acting jointly, or
27   conspiring with others who did so; by ordering, authorizing, acquiescing in, or setting
28   in motion policies, plans, or actions that led to the unlawful conduct, by failing to take
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                                    COMPLAINT FOR DAMAGES
 1   action to prevent the unlawful conduct; by failing and refusing to initiate and maintain
 2   adequate training and supervision; by failing to enact policies to address the
 3   constitutional rights of protesters despite the obvious need for such a policy; and by
 4   ratifying the unlawful conduct that occurred by agents and officers under their direction
 5   and control, including failing to take remedial or disciplinary action.
 6         15.    Plaintiffs are informed and believe and thereon allege that each of the
 7   Defendants was at all material times an agent, servant, employee, partner, joint venturer,
 8   co-conspirator, and/or alter ego of the remaining Defendants, and in doing the things
 9   herein alleged, was acting within the course and scope of that relationship. Plaintiffs are
10   further informed and believe and thereon allege that each of the Defendants herein gave
11   consent, aid, and assistance to each of the remaining Defendants, and ratified and/or
12   authorized the acts or omissions of each Defendant as alleged herein, except as may be
13   hereinafter specifically alleged. At all material times, each Defendant was jointly
14   engaged in tortious activity and an integral participant in the conduct described herein,
15   resulting in the deprivation of Plaintiffs’ and decedent AARON SMITH’s constitutional
16   rights and other harm.
17         16.    Plaintiffs are informed, believe, and thereupon allege that, at all times
18   relevant hereto, Defendants, and each of them, acted as the agents, servants, and
19   employees of each of the other defendants.
20         17.    In doing each of the acts and/or omissions alleged herein, Defendants, and
21   each of them, acted within the course and scope of their employment.
22         18.    In doing each of the acts and/or omissions alleged herein, Defendants, and
23   each of them, acted under color of authority and/or under the color of law.
24      FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
25         19.    On September 7, 2022, AARON SMITH was arrested by HPD officers
26   under suspicion of minor trespassing. In the course of detaining and arresting AARON
27   SMITH, Defendants HPD officers and Does 1-10 used significant force on AARON
28   SMITH. Indeed, Defendants HPD officers and Does 1-10 even used a police K-9 unit
                                                  5
                                     COMPLAINT FOR DAMAGES
 1   to bite AARON SMITH multiple times.
 2         20.    The significant force used on AARON SMITH, including the use of a
 3   police K-9 unit, caused AARON SMITH to experience a medical emergency. Upon
 4   information and belief, one of the medical emergencies that AARON SMITH
 5   experienced was cardiac arrest. However, despite AARON SMITH exhibiting signs of
 6   a medical emergency, Defendants HPD officers and Does 1-10 refused to summon
 7   medical care and refused to furnish medical care to AARON SMITH. Worst yet,
 8   AARON SMITH was booked into HPD Jail while suffering from the apparent medical
 9   emergency.
10         21.    At all relevant times, AARON SMITH was a healthy middle-aged man.
11   Upon information and belief, at the time of his death, AARON SMITH as not under
12   the influence of any substance at the time of his arrest or at any point thereafter.
13   However, if AARON SMITH was facing medical complications at the time of his arrest
14   and potentially under the influence, Defendants HPD officers and Does 1-10 were
15   required to summon medical care and adequately monitor AARON SMITH while in
16   HPD Jail.
17         22.    Upon information and belief, given that Defendants HPD officers and
18   Does 1-10 ignored and refused to provide AARON SMITH medical care despite being
19   in obvious need for medical care, AARON SMITH was “found” unconscious in his
20   holding cell at HPD Jail by Defendants HPD officers. Thereafter, paramedics were
21   called, but they were unable to recuccistate AARON SMITH. AARON SMITH was
22   pronounced dead at the HPD Jail on September 7, 2022.
23         23.    Upon an examination of AARON SMITH’s body, AARON SMITH body
24   showed clear signs of trauma. AARON SMITH’s face was covered in bruises, his head
25   in welts, he had a dog bite on one of his feet, and one of his ears had also been
26   noticeably aggravated.
27         24.    At the time of his death, AARON SMITH had not been convicted of any
28   crime, and was a pre-trial detainee.
                                              6
                                    COMPLAINT FOR DAMAGES
 1         25.    Upon information and belief, in addition to failing to provide medical care
 2   to AARON SMITH, AARON SMITH also died due to the Defendants HPD and CITY
 3   Jail patterns and practices of not conducting proper and timely Title 15 welfare and
 4   safety checks. Based upon the policies and procedures of Defendants HPD and CITY,
 5   AARON SMITH’s dire need for emergency medical intervention went unnoticed by
 6   Defendants HPD officers, custody, medical and mental health staff, who were
 7   responsible for monitoring and ensuring the welfare of all inmates, including AARON
 8   SMITH.
 9         26.    Accordingly, AARON SMITH’s death was proximately caused by
10   Defendants’actions.
11                              FIRST CLAIM FOR RELIEF
12                            Failure to Summon Medical Care,
13         Violation of the Fourth Amendment to the United States Constitution
14                           (Survival Action – 42 U.S.C. § 1983)
15        By Plaintiff Estate of AARON SMITH As Against DOES 1 through 10
16         27.    Plaintiffs reallege and incorporate herein by reference each of the
17   preceding paragraphs of this complaint, and any subsequent paragraphs.
18         28.    Claims for the denial of medical assistance after an arrest are analyzed
19   under the Fourth Amendment. Tatum v. City & Cty. of San Francisco, 441 F.3d 1090,
20   1098 (9th Cir. 2006). Officers must provide objectively reasonable post-arrest care to
21   an apprehended suspect. Id. “Due process requires that police officers seek the
22   necessary medical attention for a detainee when he or she has been injured while being
23   apprehended by either promptly summoning the necessary medical help or by taking
24   the injured detainee to a hospital.” Tatum v. City and County of San Francisco (9th Cir.
25   2006) 441 F.3d 1090, 1099 (citing Graham v. Connor, 409 U.S. 386 (1989). 441 F.3d
26   at 1098).
27         29.    Upon information and belief, on September 7, 2022, after it was clear that
28   AARON SMITH needed medical care, Defendants DOES 1 through 10, inclusive,
                                                7
                                    COMPLAINT FOR DAMAGES
 1   failed to summon medical care. Indeed, given that AARON SMITH was subjected to
 2   excessive force and subjected to police K-9 dog bites, AARON SMITH needed medical
 3   care. However, despite AARON SMITH’s medical needs, Defendants DOES 1 through
 4   10, inclusive, failed to summon medical care in violation of the Fourth Amendment.
 5           30.   Therefore, Defendants DOES 1 through 10, inclusive, caused the death of
 6   AARON SMITH. By virtue of their misconduct, Defendants DOES 1 through 10,
 7   inclusive, are liable for AARON SMITH’s tragic death, either because these
 8   Defendants were integral participants in the failure to summon medical care, or because
 9   they failed to intervene to prevent these violations. Accordingly, Defendants DOES 1
10   through 10, inclusive, are liable for all damages recoverable under 42 U.S.C. Section
11   1983.
12           31.   The ESTATE OF AARON SMITH by this action, further claims all of
13   Plaintiff’s attorneys’ fees and costs incurred and to be incurred in Plaintiff presenting,
14   maintaining and prosecuting this action under 42 U.S.C. Section 1988.
15           32.   The conduct of Defendants DOES 1 through 10, inclusive was willful,
16   wanton, malicious, and done with reckless disregard for the rights and safety of
17   AARON SMITH and therefore warrants the imposition of exemplary and punitive
18   damages as to Defendants DOES 1 through 10, inclusive.
19                             SECOND CLAIM FOR RELIEF
20                               Failure to Protect from Harm,
21       Violation of the Fourteenth Amendment to the United States Constitution
22                           (Survival Action – 42 U.S.C. § 1983)
23        By Plaintiff Estate of AARON SMITH As Against DOES 1 through 10
24           33.   Plaintiffs reallege and incorporate herein by reference each of the
25   preceding paragraphs of this complaint, and any subsequent paragraphs.
26           34.   Defendants CITY, HPD and DOES 1 through 10 were on notice that their
27   deficient policies, procedures, and practices alleged herein created substantial risk of
28   serious harm to an inmate in decedent AARON SMITH’s position.
                                                 8
                                    COMPLAINT FOR DAMAGES
 1         35.    Each Defendant could have taken action to prevent unnecessary harm to
 2   decedent AARON SMITH but refused or failed to do so.
 3         36.    By policy, procedure, and practice, Defendants CITY, HPD and DOES 1
 4   through 10 deliberately disregarded the hazards and risks posed to persons incarcerated
 5   at the HPD Jail, as alleged above. Defendants failed to take any reasonable steps to
 6   mitigate the obvious and well-known risks of harm that was attendant to housing
 7   decedent AARON SMITH at HPD Jail.
 8         37.    Defendants including PUST, and DOES 8 through 10 also knew that
 9   officers routinely failed to conduct required welfare and safety checks at the /HPD Jail,
10   and failed to take sufficient actions to correct this problem and ensure that necessary
11   checks were performed.
12         38.    Defendant PUST failed to take corrective action, discipline, or remove the
13   command staff at the HPD Jail who, upon information and belief, directed HPD officers
14   to falsify safety check logs and violate the CITY’s and HPD’s safety check policies.
15   Defendant PUST ratified their actions, and the practices used under his watch.
16         39.    Defendants CITY, HPD and DOES 1 through 10 were on notice that their
17   policies, procedures, and practices for monitoring inmates at the HPD Jail were
18   inadequate and gave rise to a substantial risk of serious harm.
19         40.    Defendants including PUST, and DOES 8 through 10 failed to properly
20   train and supervise HPD custody, medical and mental health staff regarding policies,
21   procedures, and practices necessary for the protection of detainees/inmates from risks
22   and hazards existing within the HPD Jail.
23         41.    Defendants including PUST, and DOES 8 through 10’s failure to correct
24   their policies, procedures, and practices despite notice of significant and dangerous
25   problems evidences deliberate indifference to the inmates in their care.
26         42.    Defendants PUST, and DOES 8 through 10 ratified Defendants DOES’s
27   actions and inactions amounting to constitutional violations.
28   ///
                                                 9
                                    COMPLAINT FOR DAMAGES
 1         43.    Defendants DOES 1 through 10’s failure to conduct the required safety
 2   check of decedent AARON SMITH’s cell/housing unit on the date of his death
 3   evidences deliberate indifference to the risk of harm to decedent AARON SMITH.
 4         44.    Upon information and belief, Defendants PUST, and DOES 8 through 10
 5   ratified Defendants DOES’s failure to conduct safety checks and falsification of logs.
 6         45.    As a direct and proximate result of Defendants’ conduct, the civil right of
 7   AARON SMITH, as protected by the Fourteenth Amendment of the United States
 8   Constitution were violated. Further, decedent AARON SMITH experienced physical
 9   pain, severe emotional distress, and mental anguish, as well as loss of his life and other
10   damages alleged herein.
11         46.    Defendants subjected decedent AARON SMITH to their wrongful
12   conduct, depriving Decedent of rights described herein, knowingly, maliciously, and
13   with conscious and reckless disregard for whether the rights and safety of Decedent
14   and others would be violated by their acts and/or omissions.
15         47.    As a direct and proximate result of Defendants’ acts and/or omissions as
16   set forth above, Decedent, through Plaintiffs herein, sustained injuries and damages.
17         48.    The conduct of Defendants entitles Plaintiffs to punitive damages and
18   penalties allowable under 42 U.S.C. § 1983 and as provided by law. Plaintiffs do not
19   seek punitive damages against Defendants HPD and CITY.
20         49.    Plaintiffs are also entitled to reasonable costs and attorneys’ fees under 42
21   U.S.C. § 1988, and other applicable United States and California codes and laws.
22                              THIRD CLAIM FOR RELIEF
23                             Failure to Provide Medical Care,
24       Violation of the Fourteenth Amendment to the United States Constitution
25                           (Survival Action – 42 U.S.C. § 1983)
26        By Plaintiff Estate of AARON SMITH As Against DOES 1 through 10
27         50.    Plaintiffs reallege and incorporate herein by reference each of the
28   preceding paragraphs of this complaint, and any subsequent paragraphs.
                                                 10
                                     COMPLAINT FOR DAMAGES
 1         51.    By the actions and omissions described above, Defendants DOES 1
 2   through 10, as alleged herein, violated 42 U.S.C. § 1983, depriving decedent AARON
 3   SMITH, through Plaintiffs herein, of the following clearly established and well-settled
 4   constitutional rights protected by the Fourth and Fourteenth Amendments to the United
 5   States Constitution: Decedent’s right to be free from deliberate indifference to AARON
 6   SMITH’s serious medical and mental health needs while in custody as a pretrial
 7   detainee as secured by the Fourteenth Amendments.
 8         52.    Indeed, it was clear as soon as AARON SMITH was taken into custody
 9   that he needed medical care. However, despite AARON SMITH’s need for medical
10   care, Defendants DOES 1 through 10, failed to provide AARON SMITH with any
11   medical care. Worse yet, even after being screened when booked, Defendants DOES 1
12   through 10, were further deliberately indifferent to AARON SMITH’s medical needs.
13   Finally, on September 7, 2022, AARON SMITH was found unresponsive in his cell
14   which was caused by Defendants DOES 1 through 10, ignoring AARON SMITH’s
15   medical needs.
16         53.    By the actions and omissions described above, Defendants DOES 1
17   through 10, as alleged herein, including but not limited to their failure to provide
18   decedent AARON SMITH with appropriate emergency medical and mental health
19   care, along with the acts and/or omissions of Defendants in failing to train, supervise,
20   and/or promulgate appropriate policies and procedures to provide emergency medical
21   and mental health care and life saving care to persons in their custody, constituted
22   deliberate indifference to AARON SMITH’s serious medical and mental health needs,
23   health, and safety.
24         54.    As a direct and proximate result of Defendants’ conduct, the civil rights
25   of AARON SMITH, as protected by the Fourteenth Amendment of the United States
26   Constitution were violated. Further, decedent AARON SMITH experienced physical
27   pain, severe emotional distress, and mental anguish, as well as loss of his life and other
28   damages alleged herein.
                                                 11
                                    COMPLAINT FOR DAMAGES
 1           55.   Defendants subjected Decedent to their wrongful conduct, depriving
 2   Decedent of rights described herein, knowingly, maliciously, and with conscious and
 3   reckless disregard for whether the rights and safety of Decedent and others would be
 4   violated by their acts and/or omissions.
 5           56.   As a direct and proximate result of Defendants’ acts and/or omissions as
 6   set forth above, Decedent, through Plaintiffs herein, sustained injuries and damages.
 7           57.   The conduct of Defendants entitles Plaintiffs to punitive damages and
 8   penalties allowable under 42 U.S.C. § 1983 and as provided by law. Plaintiffs do not
 9   seek punitive damages against Defendants CITY.
10           58.   Plaintiffs are also entitled to reasonable costs and attorneys’ fees under 42
11   U.S.C. § 1988, and other applicable United States and California codes and laws.
12                             FOURTH CLAIM FOR RELIEF
13             Deprivation of the Right to Familial Relationship with Decedent,
14         Violation of the Fourteenth Amendment to the United States Constitution
15                                      (42 U.S.C. § 1983)
16                     By All Plaintiffs As Against DOES 1 through 10
17           59.   Plaintiffs reallege and incorporate herein by reference each of the
18   preceding paragraphs of this complaint, and any subsequent paragraphs.
19           60.   The aforementioned acts and/or omissions of Defendants DOES 1 through
20   10 in being deliberately indifferent to decedent AARON SMITH’s protection, safety,
21   and serious medical and mental health needs, violating decedent AARON SMITH’s
22   constitutional rights, and their failure to train, supervise, and/or take other appropriate
23   measures to prevent the acts and/or omissions that caused the untimely and wrongful
24   death of AARON SMITH deprived Plaintiffs LYDIA SMITH, LYNETTE SMITH,
25   AARON SMITH JR., and SARA SMITH of their liberty interests in the familial
26   relationship in violation of their substantive due process rights as defined by the
27   Fourteenth Amendments of the Constitution.
28   ///
                                                 12
                                     COMPLAINT FOR DAMAGES
 1         61.    All of the acts of Defendants DOES 1 through 10 and the persons involved
 2   were done under color of state law.
 3         62.    The acts and omissions of each Defendant deprived Plaintiffs LYDIA
 4   SMITH, LYNETTE SMITH, AARON SMITH JR., and SARA SMITH, of rights,
 5   privileges, and immunities secured by the Constitution and laws of the United States,
 6   including but not limited to the Fourteenth Amendment by, among other things,
 7   depriving Plaintiffs of their rights to a familial relationship with decedent AARON
 8   SMITH without due process of law by their deliberate indifference in denying AARON
 9   SMITH protection and safety while detained/incarcerated at HPD Jail and access to
10   medical care while suffering a medical emergency at HPD Jail.
11         63.    Defendants DOES 1 through 10 and the other involved agents and
12   employees acted pursuant to expressly adopted official policies or longstanding
13   practices or customs of the CITY and HPD. These include policies and longstanding
14   practices or customs of failing to provide persons in pretrial custody who are
15   experiencing medical emergencies access to medical care as stated above and
16   incorporated herein.
17         64.    In addition, the training policies of the CITY and HPD were not adequate
18   to train its officers, agents and employees to handle the usual and recurring situations
19   with which they must deal with, including but not limited to encounters with
20   individuals in pretrial custody who are experiencing medical emergencies. These
21   Defendants and each of them knew that its failure to adequately train its CITY custody,
22   medical and mental health staff, including other agents and employees, to interact with
23   individuals suffering from medical emergencies made it highly predictable that its
24   custody, medical and mental health staff would engage in conduct that would deprive
25   persons such as decedent AARON SMITH, and thus Plaintiffs of their rights. These
26   Defendants were thus deliberately indifferent to the obvious consequences of their
27   failure to train their officers, agents and employees adequately.
28   ///
                                                13
                                    COMPLAINT FOR DAMAGES
 1         65.    Defendants CITY and HPD’s official policies and/or longstanding
 2   practices or customs, including but not limited to its training policies, caused the
 3   deprivation of the constitutional rights of Plaintiffs LYDIA SMITH, LYNETTE
 4   SMITH, AARON SMITH JR., and SARA SMITH, and decedent AARON SMITH by
 5   each individual Defendant’s official policies and/or longstanding practices or customs
 6   are so closely related to AARON SMITH’s injuries and death and thus the deprivation
 7   of the rights of Plaintiffs as to be the moving force causing those injuries.
 8         66.    Defendant PUST, a final policymaker for the CITY and HPD, ratified the
 9   actions and omissions of Defendants DOES 1 through 10, all of whom were custody,
10   medical and mental health staff at the HPD Jails, including HPD Jail, in that he had
11   knowledge of and made a deliberate choice to approve their unlawful acts and
12   omissions.
13         67.    As a direct and proximate result of Defendants’ conduct, the civil rights
14   of AARON SMITH, as protected by the Fourteenth Amendment of the United States
15   Constitution were violated. Further, decedent AARON SMITH experienced physical
16   pain, severe emotional distress, and mental anguish, as well as loss of his life and other
17   damages alleged herein.
18         68.    Defendants subjected Decedent to their wrongful conduct, depriving
19   Decedent of rights described herein, knowingly, maliciously, and with conscious and
20   reckless disregard for whether the rights and safety of Decedent and others would be
21   violated by their acts and/or omissions.
22         69.    As a direct and proximate result of Defendants’ acts and/or omissions as
23   set forth above, Plaintiffs sustained injuries and damages.
24         70.    The conduct of Defendants entitles Plaintiffs to punitive damages and
25   penalties allowable under 42 U.S.C. § 1983 and as provided by law. Plaintiffs do not
26   seek punitive damages against Defendants CITY.
27         71.    Plaintiffs are also entitled to reasonable costs and attorneys’ fees under 42
28   U.S.C. § 1988, and other applicable United States and California codes and laws.
                                                 14
                                     COMPLAINT FOR DAMAGES
 1                                  FIFTH CLAIM FOR RELIEF
 2      Municipal Policies, Customs, Practices Causing Constitutional Violations
 3                                   (Monell - 42 U.S.C. § 1983)
 4    By Plaintiff ESTATE OF AARON SMITH As Against Defendants CITY and
 5                                              HPD
 6         72.     Plaintiffs reallege and incorporate herein by reference each of the
 7   preceding paragraphs of this complaint, and any subsequent paragraphs.
 8         73.     At all times relevant hereto, the CITY and HPD custody, medical and
 9   mental health staff were required to adhere to and enforce the following policy and
10   procedures:
11         a.      To deny pretrial detainees and other inmates access to timely, appropriate,
12                 competent, and necessary care for serious medical needs, requiring such
13                 inmates in crisis to remain untreated in jail instead of providing for their
14                 emergency medical needs;
15         b.      To allow and encourage officers doing regular cell checks on inmates,
16                 including in safety cells, to fail to document their actual observations of
17                 the inmate’s condition and status, in violation of the CITY’s written
18                 policies and state law;
19         c.      To allow and encourage inadequate and incompetent medical care for jail
20                 inmates and arrestees;
21         d.      To hire, retain and contract for obviously inadequate medical care for jail
22                 inmates and arrestees, including creating financial incentives for custodial
23                 and medical personnel not to send inmates with emergency medical needs
24                 to a hospital;
25         e.      To allow, encourage, and require medical staff, including licensed
26                 vocational nurses and registered nurses, to work outside their legal scope
27                 of practice and without appropriate supervision;
28         f.      To fail to train custody staff that medical staff, including licensed
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                                      COMPLAINT FOR DAMAGES
 1               vocational nurses, are not competent to assess or decide inmates’ medical
 2               conditions, medical needs, or whether the inmate should be permitted to
 3               remain in the jail versus being sent to a hospital;
 4   g.          To allow, encourage, and require unlicensed, incompetent, inadequately
 5               trained and/or inadequately supervised staff to assess inmates’ medical
 6               condition, needs, and treatment, including to decide whether or not to
 7               provide inmates with necessary emergency care and hospitalization;
 8   h.          To fail to institute, require, and enforce proper and adequate training,
 9               supervision, policies, and procedures concerning handling persons in
10               medical crisis;
11   i.          To cover up violations of constitutional rights by any or all of the
12               following:
13          i.         By failing to properly investigate and/or evaluate incidents of
14                     violations of rights, including by unconstitutional medical care at
15                     the jail;
16         ii.         By ignoring and/or failing to properly and adequately investigate
17                     and/or investigate and discipline unconstitutional or unlawful
18                     conduct by custodial and medical personnel;
19        iii.         By turning a blind eye to custodial and medical personnel who
20                     direct, aid, and/or assist with the distribution of hazards, including
21                     illicit drugs, into the HPD Jail; and
22        iv.          By allowing, tolerating, and/or encouraging custodial and medical
23                     personnel to: fail to file complete and accurate reports; file false
24                     reports; make false statements; and/or obstruct or interfere with
25                     investigations of unconstitutional or unlawful conduct by
26                     withholding and/or concealing material information;
27   j.          To allow, tolerate, and/or encourage a “code of silence” among law
28               enforcement officers, HPD personnel, custodial personnel and medical
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                                   COMPLAINT FOR DAMAGES
 1                     personnel at the jail whereby an officer or member of the HPD or medical
 2                     staff does not provide adverse information against a fellow officer, or
 3                     member of the HPD or the medical staff;
 4         k.          To fail to have and enforce necessary, appropriate, and lawful policies,
 5                     procedures, and training programs to prevent or correct the
 6                     unconstitutional conduct, customs, and procedures described in
 7                     subparagraphs (a) through (j) above, with deliberate indifference to the
 8                     rights and safety of pretrial detainees, such as Decedent, and in the face of
 9                     an obvious need for such policies, procedures, and training programs.
10         74.         The unconstitutional actions and/or omissions of Defendants DOES 1
11   through 10, as well as other officers employed by or acting on behalf of the CITY and
12   HPD, on information and belief, were pursuant to the following customs, policies,
13   practices, and/or procedures of the CITY and the HPD, stated in the alternative, which
14   were directed, encouraged, allowed, and/or ratified by policymaking officers for the
15   CITY and HPD, including PUST:
16         a.          To fail to properly and adequately hire, train, supervise, and monitor
17                     custodial and medical personnel at the Jail;
18         b.          To fail to use appropriate and generally accepted law enforcement
19                     procedures for handling persons in medical crisis;
20         c.          To fail to institute, require, and enforce proper and adequate training,
21                     supervision, policies, and procedures concerning handling persons in
22                     medical crisis;
23         d.          To cover up violations of constitutional rights by any or all of the
24                     following:
25                i.         By failing to properly investigate and/or evaluate complaints or
26                           incidents of handling of persons in medical crisis;
27               ii.          By ignoring and/or failing to properly and adequately investigate
28                           and/or discipline unconstitutional or unlawful law enforcement
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                                         COMPLAINT FOR DAMAGES
 1                            activity; and
 2               iii.         By allowing, tolerating, and/or encouraging law enforcement
 3                            officers to: fail to file complete and accurate reports; file false
 4                            reports; make false statements; intimidate, bias and/or “coach”
 5                            witnesses to give false information and/or to attempt to bolster
 6                            officers’ stories; and/or obstruct or interfere with investigations of
 7                            unconstitutional or unlawful law enforcement conduct by
 8                            withholding and/or concealing material information;
 9         e.           To allow, tolerate, and/or encourage a “code of silence” among law
10                      enforcement officers whereby an officer does not provide adverse
11                      information against a fellow law enforcement officer;
12         f.           To allow, tolerate, and/or encourage a “code of silence” among custodial
13                      and medical personnel at the HPD Jail whereby custodial and medical
14                      personnel does not provide adverse information against a fellow staffer;
15         g.           To fail to have and enforce necessary, appropriate, and lawful policies,
16                      procedures, and training programs to prevent or correct the
17                      unconstitutional conduct, customs, and procedures described in
18                      subparagraphs (a) through (g) above, with deliberate indifference to the
19                      rights and safety of pretrial detainees, such as Decedent, and in the face of
20                      an obvious need for such policies, procedures, and training programs.
21         75.          Defendants CITY and HPD, through their employees and agents, and
22   through their policy-making supervisors, PUST and DOES 8 through 10, failed to
23   properly hire, train, instruct, monitor, supervise, evaluate, investigate, and discipline
24   Defendants DOES 1 through 10, and other CITY and HPD personnel, with deliberate
25   indifference to the constitutional rights of decedent AARON SMITH, Plaintiff and
26   others in similar positions, as described above, and therefore, those rights thereby
27   violated.
28   ///
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                                          COMPLAINT FOR DAMAGES
 1          76.   The unconstitutional actions and/or omissions of Defendants DOES 1
 2   through 10, and other HPD custody and medical staff, as described above, were
 3   approved, tolerated, and/or ratified by policymaking officers for the CITY and HPD,
 4   including Defendants PUST and DOES 8 through 10. Plaintiff is informed and believes
 5   and thereon alleges that the details of this incident have been revealed to the authorized
 6   policymakers within the CITY and HPD, and that such policymakers have direct
 7   knowledge of the fact that the death of AARON SMITH was the result of deliberate
 8   indifference to his rights to be protected and safe while in the custody of the
 9   CITY/HPD, and his rights to have access to medical care when suffering a medical
10   emergency. Notwithstanding this knowledge, the authorized policymakers within the
11   CITY and HPD have approved of the conduct and decisions of Defendants DOES 1
12   through 10 in this matter, and have made a deliberate choice to endorse such conduct
13   and decisions, and the basis for them, that resulted in the death of AARON SMITH.
14   By so doing, the authorized policymakers within the CITY and HPD have shown
15   affirmative agreement with the individual Defendants’ actions and have ratified the
16   unconstitutional acts of the individual Defendants. Furthermore, Plaintiffs are informed
17   and believe, and thereupon allege, that Defendants PUST and DOES 8 through 10, and
18   other policy-making officers for the CITY and HPD were and are aware of a pattern of
19   misconduct and injury caused by HPD Jail custody and medical staff similar to the
20   conduct of Defendants described herein, but failed to discipline culpable custody and
21   medical staff and failed to institute new procedures and policy within the CITY and
22   HPD.
23          77.   The aforementioned customs, policies, practices, and procedures; the
24   failures to properly and adequately hire, train, instruct, monitor, supervise, evaluate,
25   investigate, and discipline; and the unconstitutional orders, approvals, ratification, and
26   toleration of wrongful conduct of Defendants CITY and HPD were a moving force
27   and/or a proximate cause of the deprivations of decedent AARON SMITH’s clearly
28   established and well-settled constitutional rights in violation of 42 U.S.C. § 1983.
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                                    COMPLAINT FOR DAMAGES
 1   Defendants subjected decedent AARON SMITH to their wrongful conduct, depriving
 2   decedent AARON SMITH of rights described herein, knowingly, maliciously, and with
 3   conscious and reckless disregard for whether the rights and safety of decedent AARON
 4   SMITH, Plaintiff and others would be violated by their acts and/or omissions.
 5         78.    As a direct and proximate result of the unconstitutional actions, omissions,
 6   customs, policies, practices, and procedures of Defendants CITY and HPD, as
 7   described above, decedent AARON SMITH suffered serious injuries and death,
 8   Plaintiff is entitled to damages, penalties, costs, and attorneys’ fees against Defendants
 9   CITY and HPD.
10                              SIXTH CLAIM FOR RELIEF
11                Supervisory Liability Causing Constitutional Violations,
12        (Failure to Properly Train, Supervise and Discipline, 42 U.S.C. § 1983)
13   By Plaintiff Estate of AARON SMITH As Against Defendants PUST, and DOES
14                                        7 through 10
15         79.    Plaintiffs reallege and incorporate herein by reference each of the
16   preceding paragraphs of this complaint, and any subsequent paragraphs.
17         80.    At all material times, PUST and DOES 8 through 10 had the duty and
18   responsibility to constitutionally hire, train, instruct, monitor, supervise, evaluate,
19   investigate, staff, and discipline the other Defendants employed by their respective
20   agencies in this matter, as well as all employees and agents of the CITY and HPD.
21         81.    Defendants PUST, and DOES 8 through 10 failed to properly hire, train,
22   instruct, monitor, supervise, evaluate, investigate, and discipline the respective
23   employees of their agencies, including Defendants DOES 1 through 10, and other
24   CITY and HPD personnel, with deliberate indifference to Plaintiffs’, decedent
25   AARON SMITH’s, and others’ constitutional rights, which were thereby violated as
26   described above.
27         82.    As supervisors, Defendants PUST, and DOES 8 through 10 each
28   permitted and failed to prevent the unconstitutional acts of other Defendants and
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                                    COMPLAINT FOR DAMAGES
 1   individuals under their supervision and control, and failed to properly supervise such
 2   individuals, with deliberate indifference to the rights to safety and protections while
 3   incarcerated at HPD Jail and the rights to the serious medical and mental health needs
 4   of decedent AARON SMITH. Supervising Defendants either directed his or her
 5   subordinates in conduct that violated Decedent’s rights, or set in motion a series of acts
 6   and omissions by his or her subordinates that the supervisor knew or reasonably should
 7   have known would deprive decedent AARON SMITH of rights, or knew his or her
 8   subordinates were engaging in acts likely to deprive decedent AARON SMITH of
 9   rights and failed to act to prevent his or her subordinate from engaging in such conduct,
10   or disregarded the consequence of a known or obvious training deficiency that he or
11   she must have known would cause subordinates to violate decedent AARON SMITH’s
12   rights, and in fact did cause the violation of decedent AARON SMITH’s rights. (See,
13   Ninth Circuit Model Civil Jury Instruction 9.4). Furthermore, each of these supervising
14   Defendants is liable in their failures to intervene in their subordinates’ apparent
15   violations of decedent AARON SMITH’ rights.
16         83.    The unconstitutional customs, policies, practices, and/or procedures of
17   Defendants CITY and HPD, as stated herein, were directed, encouraged, allowed,
18   and/or ratified by policymaking officers for Defendants CITY and HPD, including
19   Defendants PUST, and DOES 8 through 10, respectively, with deliberate indifference
20   to Plaintiff’s, decedent AARON SMITH’s, and others’ constitutional rights, which
21   were thereby violated as described above.
22         84.    The unconstitutional actions and/or omissions of Defendants DOES 1
23   through 10, and other CITY and HPD personnel, as described above, were approved,
24   tolerated, and/or ratified by policymaking officers for the CITY and HPD, including
25   Defendants PUST, and DOES 8 through 10.
26         85.    Plaintiff is informed and believes and thereon alleges that the details of
27   this incident have been revealed to Defendants PUST, and DOES 8 through 10 and
28   that such Defendant-policymakers have direct knowledge of the fact that the death of
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                                    COMPLAINT FOR DAMAGES
 1   decedent AARON SMITH was not justified or necessary, but represented deliberate
 2   indifference to his rights to be protected and safe while in the CITY’s custody and his
 3   rights to his serious medical and mental health needs, as set forth above.
 4   Notwithstanding this knowledge, on information and belief, Defendants PUST and
 5   DOES 8 through 10 have approved and ratified of the conduct and decisions of
 6   Defendants DOES 1 through 10 in this matter, and have made a deliberate choice to
 7   endorse such conduct and decisions, and the basis for them, that resulted in the death
 8   of AARON SMITH. By so doing, Defendants PUST and DOES 8 through 10 have
 9   shown affirmative agreement with the individual Defendants’ actions and have ratified
10   the unconstitutional acts of the individual Defendants.
11         86.    Furthermore, Plaintiffs are informed and believe, and thereupon allege,
12   that Defendants PUST, and DOES 8 through 10 and other policymaking officers for
13   the CITY and HPD were and are aware of a pattern of misconduct and injury, and a
14   code of silence, caused by CITY and HPD custody, medical and mental health staff
15   personnel similar to the conduct of Defendants described herein, but failed to discipline
16   culpable law enforcement officers and employees and failed to institute new procedures
17   and policy within the CITY and HPD.
18         87.    The aforementioned customs, policies, practices, and procedures; the
19   failures to properly and adequately hire, train, instruct, monitor, supervise, evaluate,
20   investigate, and discipline; and the unconstitutional orders, approvals, ratification, and
21   toleration of wrongful conduct of Defendants PUST, and DOES 8 through 10 were a
22   moving force and/or a proximate cause of the deprivations of decedent AARON
23   SMITH’s clearly established and well-settled constitutional rights in violation of 42
24   U.S.C. § 1983, as more fully set forth above.
25         88.    Defendants subjected decedent AARON SMITH to their wrongful
26   conduct, depriving decedent AARON SMITH of rights described herein, knowingly,
27   maliciously, and with conscious and reckless disregard for whether the rights and safety
28   of decedent AARON SMITH and others would be violated by their acts and/or
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                                     COMPLAINT FOR DAMAGES
 1   omissions.
 2         89.      As a direct and proximate result of the unconstitutional actions, omissions,
 3   customs, policies, practices, and procedures of Defendants PUST, and DOES 8 through
 4   10 as described above, Plaintiff sustained serious and permanent injuries and is entitled
 5   to damages, penalties, costs, and attorneys’ fees.
 6                              SEVENTH CLAIM FOR RELIEF
 7                                  Negligence – Wrongful Death
 8                         By All Plaintiffs As Against All Defendants
 9         90.      Plaintiffs reallege and incorporate herein by reference each of the
10   preceding paragraphs of this complaint, and any subsequent paragraphs.
11         91.      At all times, Defendants DOES 1 through 10 owed Plaintiffs and decedent
12   AARON SMITH the duty to act with due care in the execution and enforcement of any
13   right, law, or legal obligation.
14         92.      At all times, these Defendants owed Plaintiffs and decedent AARON
15   SMITH the duty to act with reasonable care.
16         93.      These general duties of reasonable care and due care owed to Plaintiffs
17   and decedent AARON SMITH by these Defendants include but are not limited to the
18   following specific obligations:
19               a. To summon, or transport Decedent to, necessary and appropriate
20                  emergency medical and mental health care;
21               b. To refrain from unreasonably creating danger or increasing Decedent’s
22                  risk of harm;
23               c. To use generally accepted law enforcement procedures and tactics that are
24                  reasonable and appropriate for Decedent’s status as a person in medical
25                  and mental health crisis with serious medical and mental health needs;
26               d. To conduct state mandated safety and welfare checks of inmates in the
27                  custody of the HPD Jail;
28               e. To refrain from abusing their authority granted them by law; and
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                                        COMPLAINT FOR DAMAGES
 1               f. To refrain from violating Plaintiffs’ and Decedent’s rights as guaranteed
 2                  by the United States and California Constitutions, as set forth above, and
 3                  as otherwise protected by law.
 4         94.      Defendants DOES 1 through 10, through their acts and omissions,
 5   breached each and every one of the aforementioned duties owed to Plaintiffs and
 6   decedent AARON SMITH.
 7         95.      Defendants CITY and HPD are vicariously liable for the violations of state
 8   law and conduct of their officers, employees, and agents, including individual named
 9   defendants, under California Government Code § 815.2.
10         96.      As a direct and proximate result of these Defendants’ negligence,
11   Plaintiffs and decedent AARON SMITH sustained injuries and damages, and against
12   each and every Defendant named in this claim for relief in their individual capacities
13   are entitled to relief, including punitive damages against such individual Defendants.
14                              EIGHTH CLAIM FOR RELIEF
15                      Violation of California Government Code § 845.6
16        By Plaintiff ESTATE OF AARON SMITH As Against All Defendants
17         97.      Plaintiff realleges and incorporates herein by reference each of the
18   preceding paragraphs of this complaint, and any subsequent paragraphs.
19         98.      Defendants DOES 1 through 10 was in need of immediate medical care
20   and treatment, and each failed to take reasonable action to summon immediate medical
21   care and treatment. Each such individual defendant, employed by and acting within the
22   course and scope of his/her employment with Defendants CITY and HPD, knowing
23   and/or having reason to know of decedent AARON SMITH’s need for immediate
24   medical care and treatment, failed to take reasonable action to summon such care and
25   treatment in violation of California Government Code § 845.6.
26         99.      Defendants CITY and HPD are vicariously liable for the violations of state
27   law and conduct of their officers, , employees, and agents, including individual named
28   defendants, under California Government Code § 815.2.
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                                     COMPLAINT FOR DAMAGES
 1         100. As a direct and proximate result of the aforementioned acts of these
 2   Defendants, decedent AARON SMITH was injured as set forth above, and their losses
 3   entitle Plaintiff to all damages allowable under California law. Plaintiff sustained
 4   serious and permanent injuries and is entitled to damages, penalties, costs, and attorney
 5   fees under California law, including punitive damages against these individual
 6   Defendants.
 7                              NINTH CLAIM FOR RELIEF
 8                 Violation of California Civil Code §52.1 (Tom Bane Act)
 9         By Plaintiff ESTATE OF AARON SMITH As Against All Defendants
10         101. Plaintiffs reallege and incorporate herein by reference each of the
11   preceding paragraphs of this complaint, and any subsequent paragraphs.
12         102. Plaintiff brings the claims in this claim for relief as a survival claim
13   permissible under California law, including Cal. Code of Civ. Proc. § 377.20 et. seq.
14         103. By their acts, omissions, customs, and policies, Defendants, each acting
15   in concert/conspiracy, as described above, while decedent AARON SMITH was in
16   custody, and by threat, intimidation, and/or coercion, interfered with, attempted to
17   interfere with, and violated AARON SMITH’s rights under California Civil Code §
18   52.1 and under the United States Constitution and California Constitution as follows:
19            a. The right to be free from objectively unreasonable treatment and
20                 deliberate indifference to Decedent’s serious medical needs while in
21                 custody as a pretrial detainee as secured by the Fourth and/or Fourteenth
22                 Amendments to the United States Constitution and by California
23                 Constitution, Article 1, §§ 7 and 13;
24            b. The right for the familial association to be free from government
25                 interference as secured by the Fourteenth Amendments to the United
26                 States Constitution;
27            c. The right to enjoy and defend life and liberty; acquire, possess, and protect
28                 property; and pursue and obtain safety, happiness, and privacy, as secured
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                                     COMPLAINT FOR DAMAGES
 1                by the California Constitution, Article 1, § 1; and
 2             d. The right to emergency medical and mental health care as required by
 3                California Government Code §845.6.
 4         104. Defendants’ violations of decedent AARON SMITH’s due process rights
 5   with deliberate indifference, in and of themselves constitute violations of the Bane Act.
 6   Alternatively, separate from, and above and beyond, Defendants’ attempted
 7   interference, interference with, and violation of AARON SMITH’s rights as described
 8   above, Defendants violated AARON SMITH’s rights by the following conduct
 9   constituting threat, intimidation, or coercion:
10             a. With deliberate indifference to Decedent’s serious medical and mental
11                health needs, suffering, and risk of grave harm including death, depriving
12                Decedent of necessary, life-saving care for his medical needs;
13             b. With deliberate indifference to hazards that posed a risk to pretrial
14                detainees, such as Decedent;
15             c. Subjecting Decedent to ongoing violations of his rights to prompt care for
16                his serious medical and mental health needs over days, causing immense
17                and needless suffering, intimidation, coercion, and threats to his life and
18                well-being;
19             d. Deliberately contracting for and causing the provision of inadequate and
20                incompetent medical health care to HPD jail detainees and inmates;
21             e. Requiring medical and mental health staff to work outside their scope of
22                practice, and conduct assessments, triage, and make medical and housing
23                decisions for patients, including Decedent, they are not competent to
24                make; and
25             f. Instituting and maintaining the unconstitutional customs, policies, and
26                practices described herein, when it was obvious that in doing so,
27                individuals such as Decedent would be subjected to violence, threat,
28                intimidation, coercion, and ongoing violations of rights as Decedent was
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                                     COMPLAINT FOR DAMAGES
 1                here.
 2         105. The threat, intimidation, and coercion described herein were not necessary
 3   or inherent to Defendants’ violation of decedent AARON SMITH’s rights, or to any
 4   legitimate and lawful jail or law enforcement activity.
 5         106. Further, all of Defendants’ violations of duties and rights, and coercive
 6   conduct, described herein were volitional acts; none was accidental or merely
 7   negligent.
 8         107. Further, each Defendant violated decedent AARON SMITH’s rights
 9   reckless disregard and with the specific intent and purpose to deprive him of his
10   enjoyment of those rights and of the interests protected by those rights.
11         108. Defendant CITY is vicariously liable for the violations of state law and
12   conduct of their officers, employees, and agents, including individual named
13   defendants, under California Government Code § 815.2.
14         109. As a direct and proximate result of Defendants’ violation of California
15   Civil Code § 52.1 and of decedent AARON SMITH’s rights under the United States
16   and California Constitutions, Plaintiff sustained injuries and damages, and against each
17   and every Defendant is entitled to relief, including punitive damages against all
18   individual Defendants, and all damages allowed by California Civil Code §§ 52 and
19   52.1 and California law, not limited to a multiplier of damages, including treble
20   damages, costs attorneys’ fees, and civil penalties.
21                                 REQUEST FOR RELIEF
22         Wherefore, Plaintiffs respectfully requests that the Court enter a judgment as
23   follows:
24         A.     Wrongful death damages for the death of AARON SMITH, pursuant to
25                Cal. Code of Civ. Proc. § 377.60 et. seq.;
26         B.     Loss of support and familial relationships, including loss of love,
27                companionship, comfort, affection, society, services, solace, and moral
28                support, pursuant to Cal. Code of Civ. Proc. § 377.60 et. seq.;
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                                    COMPLAINT FOR DAMAGES
 1        C.    AARON SMITH’s coroner’s fees, funeral and burial expenses, pursuant
 2              to Cal. Code of Civ. Proc. § 377.20 et. seq.;
 3        D.    Violation of AARON SMITH’s constitutional rights, pursuant to Cal.
 4              Code of Civ. Proc. § 377.20 et. seq. and federal civil rights law;
 5        E.    AARON SMITH’s loss of life, pursuant to federal civil rights law;
 6        F.    AARON SMITH’s conscious pain, suffering, and disfigurement, pursuant
 7              to federal civil rights law;
 8        G.    General Damages, including wrongful death and survival damages, in
 9              excess of the mandatory amount for jurisdiction in the Unlimited Superior
10              Court;
11        H.    Non-Economic Damages, including wrongful death and survival
12              damages, according to proof plus all further and proper relief;
13        I.    Punitive damages as to individual peace officer defendants;
14        J.    Attorney’s fees pursuant to State Law (Cal. Code Civ. Proc. § 1021.5 &
15              private attorney general doctrine);
16        K.    A multiplier of damages and penalties under the Tom Bane Act;
17        L.    Interest; and
18        M.    All other damages, penalties, costs, interest, and attorneys’ fees as allowed
19              by 42 U.S.C. §§ 1983 and 1988; California Code of Civil Procedure §§
20              377.20 et. seq., 377.60 et. seq., and 1021.5; California Civil Code §§ 52
21              et. seq., 52.1; and as otherwise may be allowed by California and/or
22              federal law.
     Dated: August 31, 2023       LAW OFFICES OF CHRISTIAN CONTRERAS
23                                    A PROFESSIONAL LAW CORPORATION
24
25                                  By:
26                                  Christian Contreras, Esq.
                                    Attorneys for Plaintiffs,
27                                  ESTATE OF AARON SMITH, et al.

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                                   COMPLAINT FOR DAMAGES
 1                                 DEMAND FOR JURY TRIAL
 2          Plaintiffs, ESTATE OF AARON SMITH, by and through successor in interest,
 3   LYDIA SMITH; LYDIA SMITH, individually; AARON SMITH JR., individually;
 4   LYNETTE SMITH, individually; SARA SMITH, individually, hereby make a demand

 5   for a jury trial in this action.

 6
     Dated: August 31, 2023             LAW OFFICES OF CHRISTIAN CONTRERAS
                                            A PROFESSIONAL LAW CORPORATION
 7
 8                                       By:
                                         Christian Contreras, Esq.
 9                                       Attorneys for Plaintiffs,
                                         ESTATE OF AARON SMITH, et al.
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                                        COMPLAINT FOR DAMAGES
